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UNITED STATES DISTRICT COURT                          NOV 2 1 2022
EASTERN DISTRICT OF NEW YORK

Raymattie Jagarnauth,
                             Plaintiff



                                                CV22-7020
             -against-

                                                          COMPLAINT
                                                                      DeARCYHALU,
                                                      JURY TRAIL DEMANDED

OASIS LEGAL FINANCE LLC,
                         Defendants-Respondents                   BLOOM, MJ,
                                                  X


Plaintiff: Raymattie Jagarnauth: 138-19 109^^^ Avenue
Jamaica, New York a republic 11435.


Defendant: OASIS LEGAL FINANCE LLC, LOCKBOX NUMBER 77383, 350
EAST DEVON AVE ITASCA, IL 60143.


The Jurisdiction of the Court is invoked pursuant to:
   1. This Court has subject-matter jurisdiction pursuant to 28
      U.S.C. §§ 1331, 1337(a), Commerce and antitrust
      regulations; amount in controversy, costs and 1345. This is
      in direct reference to the March 9, 1933 act and
      presidential Proclamation 2039, where a NATIONAL ECONOMIC
      BANKING EMERGENCY was declared, facilitating the serious
      emergency that Congress has stated is still extant.

28 U.S. Code § 1332 - Diversity of citizenship; amount in
controversy; costs: controversy exceeds the sum or value of
$75,000, exclusive of interest and costs, and is between-
(1) citizens of different States;

(2) citizens of a State and citizens or subjects of a
foreign state, except that the district courts shall not have
original jurisdiction under this subsection of an action between
citizens of a State and citizens or subjects of a
foreign state who are lawfully admitted for permanent residence
in the United States and are domiciled in the same State;
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(3) citizens of different States and in which citizens or
subjects of a foreign state are additional parties; and
(4) a foreign state, defined in section 1603(a) of this title,
as plaintiff and citizens of a State or of different States.


Diversity of citizenship exists when opposing parties in a
lawsuit are citizens of different states or a citizen of a
foreign country. If the party is a corporation, it is a citizen
of the state where it is incorporated or is doing business. If
diversity of citizenship exists, it places the case under
federal court jurisdiction pursuant to Article III, section 2 of
the U.S. Constitution.

A civil action in which jurisdiction is founded only on
diversity of citizenship may, except as otherwise provided by
law, be brought only in; a judicial district where any defendant
resides, if all defendants reside in the same State, a judicial
district in which a substantial part of the events or omissions
giving rise to the claim occurred, or a substantial part of
property that is the subject of the action is situated, or a
judicial district in which any defendant is subject to personal
jurisdiction at the time the action is commenced, if there is no
district in which the action may otherwise be brought.

  1. This action arises under:

     a. The Constitution of the United States, and specifically
     the First Amendment (right to petition government, freedom
     of religion); Fifth Amendment (right to due process and
     equal protection of the law); Article IV, § 1 (privileges
     and immunity clause); and under:


     b. Title 28 United States Code        § 1331, which provides that
     anyone stating facts raising a federal cause of action has
     the right to file in the district courts a civil action
     stating claims arising under the Constitution, laws, or
     treaties of the United States.



     c. Title 28 United States Code § 1343, which provides a
     federal court forum in which citizens may seek redress from
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    the deprivation of rights, privileges and immunities under
    color of state law.



    d. Civil Rights Act, Title 42 United States Code §§ 1983-
    1986, that provides a federal remedy to anyone suffering
    from violations of his civil rights perpetrated under color
    of state law including: Conspiracy to interfere with civil
    rights; Deprivation Of Rights.


    e. Title 42 U.S.C. § 1985 Conspiracy to interfere with civil
    rights, based upon the conspiracy by the defendants that
    repeatedly violated plaintiff's civil rights.

    f. Title 42 United States Code § 1986, which provides for
     damages from those defendants who had knowledge of the
     violations of plaintiff's civil rights, who had the duty and
     the ability to prevent or aid in the prevention of them, and
     who failed to perform that duty.


     g. Bivens v. Six Unknown Named Agents of Federal Bureau of
     Narcotics, 403 U.S. 388 (1971). The Bivens claim is based
     upon the violations of plaintiff's civil rights under color
     of federal law, which occurred continuously and inter
     related from 1983 to the present date.


  2.1. Declaratory Judgment Act, Title 28 United States Code §§
     2201 and 2202, which provides for district courts to declare
     rights and legal relations that are in controversy, and
     provide whatever remedies are appropriate. (Also FRCivP 57)

     j. Title 18 United States Code § 4. This federal crime
     reporting statute requires any person who knows of a federal
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    crime to promptly "report it to a federal judge" or other
    officer.

    m. malicious abuse of process,

    o. negligence

    r. intentional infliction of emotional distress
    s. The matters in controversy exceed ten million dollars.

                                  VENUE



 Venue is based upon the following:
 a. This court has jurisdiction over this action pursuant to 28
 U.S.C § 1331 as it involves        claims under TITLE 42 UNITED
 STATES CODE, CHAPTER 21 - CIVIL RIGHTS


  b.Venue is proper in this judicial district pursuant to 28
 U.S.C § 1391 (1)(2)(3) as the Plaintiff's reside in this
  district, and the violations of law complained of herein
  occurred in this district.



  c. A nmnber of the wrongful acts and federal causes of action
  occurred while plaintiff was a resident of the Southern
  District of New York.



  d. A number of the wrongful acts and federal causes of action
  occurred while plaintiff was a resident of the District of New
  York.




  e. Plaintiff resides in New York and consider New York their
  domicile.



  f. All defendants participated in wrongful conduct that
  affected District of New York interests, including property
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 and plaintiffs residences and domicile.


 g. Venue exists in any location for reporting criminal
 activities to a federal judge, as required by federal crime
 reporting statute, Title 18 U.S.C. § 4.


 h. Venue lies in this district pursuant to 28 U.S.C. §§
 1391(a), (b), (e); 1392(b); 1402(b).

                           STATEMENT OF CLAIM



  1. I, Raymattie Jagarnauth, Petitioner, heir to the Pugh's
     estate, before this court seeking a remedy in Admiralty as
     is provided by ^'The Saving to the Suitors Clause" at USC 28
     -1333(1). I am standing in my unlimited commercial
     liability as a Secured Party Creditor and request that the
     Defendant(s) do the same and waive all of their immunities.
     I respectfully request the indulgence of this court, as I
     am not schooled in law. This is provided by the precedent
     set by Raines vs. Kerner at 404 U.S. 519.

  2. I, Raymattie Jagarnauth, being duly sworn, deposes and says
     (orI make's the following affirmation under the penalties
     of perjury):

  3. I, Raymattie Jagarnauth, am the Plaintiff in the above-
     entitled action, and respectfully move this Court to issue
     and order enjoining defendant OASIS LEGAL FINANCE LLC,
     from/to cease and desist from taking funds from my lawsuit
     settlement until a final disposition on the merits of the
     above-entitled action.


  4. I am proceeding by order to show cause rather than by
     notice of motion because, I am unemployed and facing a
     hardship at this point in my life.

  5. I have made the following attempts to contact my opponent
     (s) and inform them that I am seeking a temporary
     restraining order: by sending F.O.I.A. (Freedom of Freedom
     of Information Act).
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 6. Unless this preliminary injunction and temporary
    restraining order is issued, I will suffer immediate
    irreparable injury as shown by the following facts: Loss of
    tenancy.

 7. As can be seen from the foregoing, I have no adequate
    remedy at law and am entitled to a Temporary restraining
    order and a preliminary injunction.

 8. Title 12 U.S.C. Sec.l831n (a)(2)(A) and/or 12 CFR 741.6(b)
     regarding Generally Accepted Accounting Principles, and
    General Accepted Auditing Standards concerning the creation
    of the said funds, shows that the defendant has been paid,
    and is in violation of HJR 192, of June 5^*^ 1933.

  11.On March 9, 1933, a bank emergency was declared by
     President Roosevelt because of the insolvency [bankruptcy]
     of the UNITED STATES. Executive Order 6073, 6102, 6111,
     6260; Senate Report 93-549, pgs. 187 & 594, 1973.

  12.1933 March 9, The new money (paper promissory notes) is
     issued to the banks in return for Government obligations,
     bill of exchange, drafts, notes, trade acceptances, and
     banker's acceptance. The new money will be worth 100 cents
     on the dollar, because it is backed by the credit of the
     nation. It will represent a mortgage on all the homes and
     other property of all the people in the nation. Senate
     Document No. 43, 73^^ Congressional Record, 1®^ Session.
  13.1933 May 1®^, gold was transferred [stolen] from U.S.
     Citizens to the United States by Executive Order 6102.

  14.1933 May 23, Congressman, Louis T. McFadden brought formal
     charges (Congressional Record May 23^^, 1933 page 4055-4058)
     against the Board of Governors of the Federal Reserve Bank
     system. The Comptroller of Currency and the Secretary of
      United States Treasury for numerous criminal acts,
     including but not limited to, conspiracy, fraud, unlawful
      conversion and treason. The petition for Articles of
      Impeachment was thereafter referred to the Judiciary
      Committee and has yet to be acted on.



  15.1933 June 5^^, to mitigate McFadden's charges (and prevent
      being hung for treason), Congress passed House Joint
      Resolution 192 to provide U.S. Citizens the right to set
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     off all debt obligations as the consideration {something
     bargained for i.e., an exchange) for the transfer of all
     the gold and property. It is against Public Policy [applies
     only to Congress] to pay a debt. Chap. 48, 48 stat.112 in
     the United States Statutes at Large is Public Law [applies
     to everyone else].

  16.1950 congress declared bankruptcy and reorganization.
     Secretary of Treasury appointed receive in the bankruptcy.
     Reorganization Plan, No. 26, 5 U.S.C.A. 903; Public Law 94-
     564; Legislative History, Pg. 5967.


  17.1973 Since March 9^*^, 1933, the United States has been in a
     state of declared national emergency (bankruptcy) Senate
     Resolution 9, 93^^. Congress, 1®^. Session. The President
      signs [renews] this every year.

  18.1977 Oct. 28^*^, the United States as a Corporator and State
     declared insolvency. State banks and most other banks were
      put under control of the Governor (Secretary of the U.S.
      Treasury) of the ^^Fund" (I.M.F.) 26 IRC 165 (g)(1); UCC 1-
      201(23), C.R.S. 39-22-103.5, Westfall vs. Braley, 10 Ohio
      188, 75 Am. Dec. 509, Adams vs, Richardson, 337 S.W. 2d.
      911; Ward vs. Smith, 7 Wall 447.


  19.1993 March 17^^, United States Congressional Record, Vol.
      33, page H-1303. Speaker-Rep. James Traficant, Jr. (Ohio)
      addressing the House: Me. Speaker, we are here now in
      chapter 11 Members of Congress are official trustees
      presiding over the greatest reorganization of any Bankrupt
      entity in the world history, the U.S. Government.
   20.United States Code Title 31 section 3123, states that the
      US Government has an obligation to pay dollar for dollar
      principal and interest in legal tender ALL debts accrued by
      the American people.


Federal Question: Does this alleged debt violates HJR 192 Of
June 5, 1933 and the Bankruptcy of the UNITED STATES ?
Since all contracts since Roosevelt's time have the colorable
consideration of Federal Reserve Notes, instead of a genuine
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consid.Q3r3.ti.on of silver and gold coin, all contracts are
colorable contracts, and not genuine contracts. [According to
Black's Law Dictionary (1990), colorable means "That which is in
appearance only, and not in reality, what it puirports to be,
hence counterfeit, feigned, having the appearance of truth."]
                                  RELIEF




WHEREFORE, PLAINTIFF respectfully ask that the court grant the
following relief:

  (a)      Grant an Emergency Temporary Restraining Order and/or
     Preliminary Injunction to prevent the Defendant from
     falsely collecting on a debt that they have sold.
   (b)     COMPEL Production of all alleged documents held by
      defendants authorizing them to collect on the said alleged
      debt, or in the absence of the existence of such proof and
      showing be permanently preclude from making such claims
      again.
   (c)     COMPEL proof of any wet ink contract, lien or any
      other instrument that proves any claims by alleged holders
      in due course.
   (d)    COMPEL validation of the existence of the alleged Debt
     and the provision of the remedy available to Plaintiff's
      common law.
   (e)      COMPEL verification of the loan number and the use of
      the correct loan number in any proceeding henceforth.

And it is further ORDERED that a copy of this order, together
with the papers upon which it is granted, be personally served
upon the defendant (s) or his (their) attorney on or before
                          2022 by                    and that such
service be deemed good and sufficient.
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    R^ymattie             rnauth



                                             JURAT

New York State a Republic!
                                       ss.

Queens County

 On the-2J      day of                 / 2022, Raymattie Jagarnauth,
personally appeared before me and proved to me on the basis of
satisfactory evidence to be the person whose name is subscribed
hereto and acknowledged to me that he executed the same under
asseveration, and accepts the facts thereof. Subscribed and
affirmed before me this day. Witness my hand and seal this '2J__
day of                     2022.




 Notary Signatur


 My Commission expires on the                        day of NcM9ml7er , 2022>
          MANJINDER SINGH
   notary public-state of new YORK
             No.01SI6327397
        Qualified in Queens County
   Nly Commission Expires 07-06-2023
